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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     NEW ALBANY DIVISION

                                                                 :
 In re:                                                          :     Chapter 11
                                                                 :
 EASTERN LIVESTOCK CO., LLC, et al.,1                            :    Case No.: 10-93904-BHL-11
                                                                 :
                                          Debtors.               :
                                                                 :

     MOTION PURSUANT TO FED R. BANKR. P. 9006(c) FOR EMERGENCY HEARING
        ON MOTION OF FIFTH THIRD BANK, N.A. TO LIMIT DISCOVERY OR,
                ALTERNATIVELY, FOR A PROTECTIVE ORDER

                   Fifth Third Bank, N.A. (“Fifth Third”), by counsel, hereby moves the Court for

 the entry of an order setting an expedited hearing on the Motion of Fifth Third Bank, N.A. to

 Limit Discovery or, Alternatively, for a Protective Order [Docket No.1005] (the “Discovery

 Motion”) and shortening and limiting notice thereon. The relief requested in the Discovery

 Motion is necessary on an expedited basis to help avoid costly and burdensome discovery in the

 form of serial depositions.

                   In order avoid any unnecessary delays in discovery and to ensure that the

 Discovery Motion be heard before any depositions are taken, Fifth Third, pursuant to Fed. R.

 Bankr. P. 9006(c) and Local Bankruptcy Rule B-9006-1, requests that the Court set the

 Discovery Motion for hearing on February 13, 2012. Fifth Third further requests that the Court

 authorize parties in interest to participate telephonically in the hearing on the Discovery Motion.

                   WHEREFORE, Fifth Third respectfully requests that the Court enter an Order (1)

 setting the Discovery Motion for hearing on February 13, 2012; (2) allowing telephonic

 participation therein; and (3) shortening notice thereon.



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       The Debtor entities are Eastern Livestock Co., LLC and Okie Farms, L.L.C.


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                                                     Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that on February 3, 2012, a copy of the foregoing Motion was filed and
 served electronically through the Court’s CM/ECF System to the following parties who are listed
 on the Court’s Electronic Mail Notice List:


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